     Case 8:19-cv-02503-DMG-KES Document 29 Filed 07/06/20 Page 1 of 2 Page ID #:71




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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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                                             )
11     TITO VASQUEZ,                         ) Case No.: SA CV 19-2503 DMG (KESx)
                                             )
12                           Plaintiff,      )
                                             )
13                v.                         )
                                             ) JUDGMENT
14                                           )
       99 BOTTLES & COCKTAILS,               )
15     et al.,                               )
                                             )
16                                           )
                                             )
17                           Defendants.     )
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     Case 8:19-cv-02503-DMG-KES Document 29 Filed 07/06/20 Page 2 of 2 Page ID #:72




1           The Court having granted Plaintiff Tito Vasquez’s motion for default judgment by
2     Order dated July 6, 2020 [Doc. # 28],
3           IT IS ORDERED, ADJUDGED, AND DECREED that judgment is entered in favor
4     of Plaintiff and against Defendants 99 Bottles & Cocktails and Super 8, Inc. Defendants
5     shall pay Plaintiff $4,600 (consisting of $4,000 in statutory penalties and $600 in attorneys’
6     fees) and provide ADA-compliant signage relating to the handicapped parking at 99 Bottles
7     and Cocktails.
8
9     DATED: July 6, 2020
10                                                               DOLLY M. GEE
11                                                       UNITED STATES DISTRICT JUDGE

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